                          Case: 25-280, 01/15/2025, DktEntry: 2.1, Page 1 of 4
          Case 2:22-cv-00272-TOR     ECF No. 137      filed 01/15/25   PageID.3627       Page 1
                                                 of 4
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            4 15-355-8000                             FILED
Molly C. Dwyer
Clerk of Court                                                                         JAN 152025
                                                                                   MOLLY c. DWYER, CLERK
                                                                                    U.S. COURT OF APPEALS

                                       DOCKETING NOTICE


       Docket Number:           25-280
       Originating Case Number: 2:22-cv-00272-TOR

       Short Title :                 Guenther, et al. V. Emmons, et al.

      Dear Appellant/Counsel


      A copy of your notice of appeal/petition has been received in the Clerk's office of the
      United States Court of Appeals for the Ninth Circuit. The U.S. Court of Appeals docket
      number shown above has been assigned to this case. You must indicate this Court of
      Appeals docket number whenever you communicate with this court regarding this case.
      Motions filed along with the notice of appeal in the district court are not automatically
      transferred to this court for filing. Any motions seeking relief from this court must be
      separately filed in this court's docket.
      Please furnish this docket number immediately to the court reporter if you place an order,
      or have placed an order, for portions of the trial transcripts. The court reporter will need
      this docket number when communicating with this court.
      You must file a Disclosure Statement (Form 34) within 14 days of this notice if your
      case: (1) involves a non-governmental corporation, association, joint venture, partnership,
      limited liability company, or similar entity, (2) is a bankruptcy case, (3) is a criminal case
      involving an organizational victim, or (4) involves review of state court proceedings. See
      Ninth Circuit Rule 26-1.1.

      Failure of the appellant to comply with the time schedule order may result in
      dismissal of the appeal.
                   Case: 25-280, 01/15/2025, DktEntry: 2.1, Page 2 of 4
   Case 2:22-cv-00272-TOR     ECF No. 137      filed 01/15/25   PageID.3628   Page 2
                                          of 4
Please read the enclosed materials carefully.
                           Case: 25-280, 01/15/2025, DktEntry: 2.1, Page 3 of 4
           Case 2:22-cv-00272-TOR     ECF No. 137      filed 01/15/25   PageID.3629      Page 3
                                                  of 4
                                         Office of the Clerk
                        United States Court of Appeals for the Ninth Circuit
                                       Post Office Box 193939
                                San Francisco, California 94119-3939
                                            4 15-355-8000
Molly C. Dwyer
Clerk of Court



                                     TIME SCHEDULE ORDER


        Docket Number:           25-280
        Originating Case Number: 2:22-cv-00272-TOR

        Case Title:                  Guenther, et al. V. Emmons, et al.



        Tuesday, January 21, 2025
        Faye Irene Guenther                                   Appeal Transcript Order Due
        Faye Irene Guenther                                   Mediation Questionnaire due

        Thursday, February 20, 2025
        Faye Irene Guenther                                   Appeal Transcript Due

        Tuesday, April 1, 2025
        Faye Irene Guenther                                   Appeal Opening Brief Due

        Thursday, May 1, 2025
        Joseph H. Emmons                                      Appeal Answering Brief Due
        Osprey Field Consulting LLC                           Appeal Answering Brief Due


       If there were reported hearings, the parties shall designate and, if necessary, cross-
       designate the transcripts pursuant to 9th Cir. R. 10-3. If there were no reported hearings,
       the transcript deadlines do not apply.
       The optional reply may be filed within 21 days of service of the answering brief. See
       Fed. R. App. P. 31 and 9th Cir. R. 31-2.1.
                   Case: 25-280, 01/15/2025, DktEntry: 2.1, Page 4 of 4
   Case 2:22-cv-00272-TOR     ECF No. 137      filed 01/15/25   PageID.3630   Page 4
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Failure of the appellant to comply with the time schedule order may result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.
